18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 1 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 2 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 3 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 4 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 5 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 6 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 7 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 8 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                     Pg 9 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 10 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 11 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 12 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 13 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 14 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 15 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 16 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 17 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 18 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 19 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 20 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 21 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 22 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 23 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 24 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 25 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 26 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 27 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 28 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 29 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 30 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 31 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 32 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 33 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 34 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 35 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 36 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 37 of 38
18-08245-rdd   Doc 40   Filed 11/04/19 Entered 11/04/19 18:06:16   Main Document
                                    Pg 38 of 38
